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                            No. 23-12331-B


            IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT


                   UNITED STATES OF AMERICA,

                                        Plaintiff-Appellee
                                   v.

                         STATE OF FLORIDA,

                                        Defendant-Appellant


     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF FLORIDA


     BRIEF FOR THE UNITED STATES AS PLAINTIFF-APPELLEE


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               CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

      The United States files this Certificate of Interested Persons and Corporate

Disclosure Statement pursuant to Eleventh Circuit Rules 26.1-1 to 26.1-3. In

addition to the persons identified by defendant-appellant’s Certificate of Interested

Persons, the following may have an interest in the outcome of this case:

      Dermody, Eliza, counsel for the United States

      England, Travis W., former counsel for the United States

      Esposito, Beth A., counsel for the United States

      Johnson, Christopher N., counsel for Florida

      Mawhinney, Allison G., counsel for Florida

      Scott, Angela, former counsel for the United States

      Welan, Joy L., counsel for the United States

      Williams, Stuart F., counsel for Florida

      The United States is not aware of any publicly traded company or

corporation that has an interest in the outcome of this case.

                                              s/ Sydney A.R. Foster
                                              SYDNEY A.R. FOSTER
                                              Attorney


Date: November 8, 2023




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              STATEMENT REGARDING ORAL ARGUMENT

      Because of the importance of the issues presented and the extensive trial

record, the United States believes that oral argument is appropriate in this case.

This Court has tentatively scheduled argument for the week of January 22, 2024.
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                IN THE UNITED STATES COURT OF APPEALS
                       FOR THE ELEVENTH CIRCUIT


                                   No. 23-12331-B

                         UNITED STATES OF AMERICA,

                                               Plaintiff-Appellee
                                          v.

                               STATE OF FLORIDA,

                                               Defendant-Appellant


        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF FLORIDA


        BRIEF FOR THE UNITED STATES AS PLAINTIFF-APPELLEE


                                 INTRODUCTION

      In Florida, approximately 140 children with complex medical needs reside in

nursing facilities, where they have little opportunity to be nurtured by their parents,

bond with their siblings and friends, or interact with their communities. After a

two-week bench trial, the district court concluded that the State of Florida

administers its Medicaid system in a manner that leads to the unnecessary

institutionalization of these children and a serious risk that other children with

medical complexity will be unnecessarily institutionalized in the future. The court

found that by making modest changes, Florida could provide medically necessary
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services to children with medical complexity in their homes and the community,

and it properly determined that Florida is violating the “integration mandate” of

Title II of the Americans with Disabilities Act of 1990 (ADA), 42 U.S.C. 12131 et

seq. The court acted well within its discretion in entering a narrow injunction

remedying the violation.

      Florida mounts numerous attacks on the court’s judgment, most of which

take issue with the court’s well-supported factual findings or discretionary

determinations, and none of which establishes reversible error. This Court should

affirm.

      Significantly, an affirmance would not require the closure of nursing

facilities serving children with medical complexity. Nor would it prohibit families

preferring nursing facilities from choosing that option. An affirmance would,

however, give families a meaningful choice as to whether the best place for their

children to thrive and receive medical care is at home, elsewhere in the

community, or in a nursing facility. Most importantly, an affirmance would ensure

that children with medical complexity are granted equality and freedom from

unwarranted isolation.
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                      STATEMENT OF JURISDICTION

      The United States sued Florida to enforce Title II of the ADA. Doc. 700, at

1, 21-22 (Am. Compl.). 1 The district court had jurisdiction under 28 U.S.C. 1331,

1345. On July 14, 2023, the court issued an opinion finding Florida liable, and it

entered an injunction. Docs. 1170, 1171. On July 21, 2023, the court entered final

judgment for the United States. Doc. 1175. Florida filed a timely notice of appeal

on July 17, 2023. Doc. 1172; Fed. R. App. P. 4(a)(1)(B), (a)(2). This Court has

jurisdiction under 28 U.S.C. 1291.

                        STATEMENT OF THE ISSUES

      1. Whether the district court properly evaluated the United States’ Olmstead

claim because the court (a) applied the correct appropriateness standard; (b) did not

clearly err in finding overwhelming non-opposition; and (c) properly found the

proffered modifications reasonable.




      1
         “Doc. __, at __” refers to district-court document numbers and page
numbers within those documents, respectively. “PEX __, at __” refers to numbers
of the United States’ trial exhibits and page numbers within those exhibits,
respectively. “PEX” cites without an accompanying “Doc.” cite refer to exhibits
transmitted to this Court on a DVD. “Br.__” refers to page numbers within
Florida’s opening brief. Some documents in the record identify children with
numbers rather than names to protect the children’s privacy. The names
corresponding to each number appear in the sealed attachment to Document 881.
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       2. Whether the district court acted within its discretion in issuing injunctive

relief because it properly (a) found widespread violations; (b) respected federalism

principles; and (c) determined that the actions it mandated are achievable.

       3. Whether the United States has statutory authority to maintain this suit on

behalf of all victims of Florida’s discrimination rather than only victims who filed

administrative complaints.

              PERTINENT STATUTES, REGULATIONS, AND RULES

       Pertinent statutes, regulations, and rules are reproduced in the addendum to

this brief.

                          STATEMENT OF THE CASE

1.     Legal Background

       Title II prohibits discrimination by States: “no qualified individual with a

disability shall, by reason of such disability, be excluded from participation in or

be denied the benefits of the services, programs, or activities of a public entity, or

be subjected to discrimination by any such entity.” 42 U.S.C. 12132, 12131(1).

States cannot discriminate “directly” or “through contractual” arrangements. 28

C.F.R. 35.130(b).

       Under a regulation known as the “integration mandate,” States must

“administer services” in “the most integrated setting appropriate to the needs of

qualified individuals with disabilities.” 28 C.F.R. 35.130(d). States also must
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make “reasonable modifications” to policies and practices when “necessary to

avoid discrimination,” unless they “can demonstrate” that the modifications would

“fundamentally alter the nature of the service.” 28 C.F.R. 35.130(b)(7).

      In Olmstead v. L.C., 527 U.S. 581, 600 (1999), the Supreme Court held that

the “unjustified institutional isolation of persons with disabilities is a form of

discrimination” under Title II. The Court concluded that people with disabilities

receiving state services are entitled to community-based services when

(1) community-based placement is “appropriate”; (2) they do “not oppose” such

placement; and (3) such placement can be “reasonably accommodated.” Id. at 607

(plurality opinion). States may avoid liability, however, if they show the

accommodations would fundamentally alter their services. Id. at 603.

2.    Factual And Procedural Background

      a. Through its Medicaid program, Florida administers a system of services

for children with complex medical needs. Doc. 1170, at 30-33. Such children

have complex chronic conditions and require long-term care and medical

technology, such as ventilators. Id. at 5; Doc. 906, at 136-138. Guidelines of the

American Academy of Pediatrics explain that, “[i]deally,” such children “should

be cared for by their families in their home[s].” Doc. 906, at 144-149. In Florida,

over 1800 such children reside at home or elsewhere in the community, but

approximately 140 live in nursing facilities. Doc. 1170, at 5, 33.
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      The Medicaid Act requires Florida’s program to provide eligible children in

the community all “medically necessary” private-duty nursing, 42 U.S.C.

1396a(a)(43)(A)-(C), 1396d(a), 1396d(r)(5)—one-on-one skilled care from nurses

who come to their homes. Doc. 1170, at 34, 72. Despite that requirement, Florida

provides these children an average of only 70-80% of authorized (i.e., medically

necessary) hours, with a quarter of children receiving less than 60% of authorized

hours. Id. at 35.

      Florida’s Medicaid program also offers children with medical complexity

“care coordination” services—an “extremely important” service in which a

professional works with families to identify and access needed services and

benefits, including by assisting in transitioning children from nursing facilities.

Doc. 906, at 141-142; see Doc. 1170, at 38; Doc. 840, at 17. Many care

coordinators do not in fact help parents and guardians (whom this brief refers to as

“parents”) in these ways, as explained below.

      Florida provides Medicaid services to children with medical complexity

through either a managed-care or fee-for-services program. With respect to

managed-care plans (which cover most Medicaid recipients), a state agency

contracts with private managed-care organizations to provide “medically

necessary” services through a provider network. Doc. 1170, at 31-32.
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      b. Many parents of children with medical complexity have faced obstacles

in learning about and obtaining community-based Medicaid services in Florida.

As a result, some parents have resorted to placing their children in nursing

facilities, while others have attempted to cover gaps in services at a steep cost to

their families’ well-being. Doc. 1170, at 18-30, 36-37 (describing some families’

experiences).

      J.H., for example, was a “happy” 15-year-old with cerebral palsy and spastic

quadriplegia who initially lived at home with Eve Harris—his grandmother and

guardian. Doc. 907, at 4-6, 14. The family experienced regular gaps in private-

duty-nursing services, causing Harris to miss work and lose her government job.

Id. at 23-25, 63. Harris then worked as a home-health companion and addressed

some nursing gaps by bringing J.H. to work. Id. at 23-25. Because of nursing

deficits, Harris put J.H. in a nursing facility so she could relocate to another city

with better services. Id. at 7-8, 26-29, 62-64. When Harris tried to bring J.H.

home, however, she could not obtain nursing and received unclear information

about the training she needed. Id. at 33-35. Harris entered nursing school to

address J.H.’s nursing gaps. But when J.H. finally returned home after over a year

away, Harris withdrew because nursing gaps remained. Id. at 9, 13, 18, 40-41. For

many years, Medicaid care coordinators did not provide any support to Harris, who

was “basically doing everything by [her]self.” Id. at 46; id. at 21-22, 59-60.
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      As another example, ten-year-old O.P.—a music and nature lover—has

many complex conditions, uses a ventilator, and is authorized for round-the-clock

private-duty nursing. Doc. 910, at 72-79, 82-84. When O.P. lacks night nursing, a

frequent occurrence, her mother, Julie Pagano, tries to stay awake. But because

“[no] human can stay awake constantly,” Pagano sometimes lies beside O.P. and

sets an alarm for every 15 minutes so Pagano can rest while attempting to monitor

O.P. Id. at 84-85, 103-105. Because O.P. also lacks consistent daytime nursing,

Pagano gave up one job and struggles to meet the requirements of her current job,

which she needs to pay for housing. Id. at 103-108, 112-115. Pagano—whose

marriage dissolved after her husband stopped working to cover nursing gaps and

the couple experienced financial strain—faces an “ongoing battle just to keep [her]

head above water,” which is “terrifying.” Id. at 131-133. Her Medicaid care

coordinators frequently fail to tell her about, much less obtain, critical Medicaid

services and benefits. Id. at 88-89, 94-98.

      c. The U.S. Department of Justice (DOJ) received complaints of disability

discrimination concerning Florida’s administration of services to children with

medical complexity. After investigating, DOJ determined Florida is violating Title

II, and it filed suit. Doc. 1170, at 11.

      More than three years later, the district court sua sponte dismissed the case,

holding that Title II does not grant the Attorney General the right to sue. Doc. 543,
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at 3. This Court disagreed and remanded. United States v. Florida, 938 F.3d

1221, 1250 (11th Cir. 2019), reh’g en banc denied, 21 F.4th 730 (11th Cir. 2021),

cert. denied, 143 S. Ct. 89 (2022).

      d. On remand, the district court granted Florida partial summary judgment

on the question whether certain modifications to its waiver and medical-foster-care

programs would fundamentally alter its services. Doc. 882, at 1-2. The court then

conducted a two-week bench trial. Doc. 1170, at 5.

      In a comprehensive 79-page opinion, the court concluded that Florida is

violating Title II by administering its Medicaid program in a manner that results in

the unnecessary institutionalization of children with medical complexity and that

places others at serious risk of such institutionalization. Doc. 1170, at 5, 79. In

reaching that conclusion, the court agreed with six circuits that Title II bars States

from unnecessarily institutionalizing individuals with disabilities and placing them

at “serious risk” of unnecessary institutionalization. Id. at 8-9.

      The court explained that it heard “overwhelming evidence of Florida’s

failings in administering [its Medicaid] services” for children with medical

complexity. Doc. 1170, at 6. It found the “lack of access to [private-duty

nursing]” is the most “critical problem” and is “causing systemic

institutionalization” and the serious risk thereof. Id. at 6, 34-37, 44-45. The court

also found that deficiencies in Florida’s care-coordination services—including care
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coordinators’ frequent failure to help families obtain community-based services—

contribute to the same result. Id. at 38-41, 44-45. It concluded that the United

States established the Olmstead elements, and it explained that Florida had “ample

opportunity” to present a fundamental-alteration defense as to private-duty nursing

but “chose not to do so.” Id. at 45-67.

      The court entered an injunction with an anticipated two-year term,

principally requiring Florida to (1) use any tools to provide children 90% of

authorized and desired private-duty-nursing hours; and (2) increase oversight over

the care-coordination system in particular ways. Doc. 1171, at 3-6, 11; Doc. 1170,

at 67-78.

      e. Florida appealed, and the district court denied a stay pending appeal.

Doc. 1178. Florida renewed its request for a stay in this Court, and its motion

remains pending.

3.    Standard Of Review

      This Court reviews the district court’s conclusions of law de novo and its

factual findings for clear error—a “highly deferential standard.” A.L. v. Walt

Disney Parks & Resorts U.S., Inc., 50 F.4th 1097, 1107 (11th Cir. 2022) (citation

omitted). The Court reviews evidentiary rulings and a grant of an injunction for

abuse of discretion. Ibid.; Collegiate Licensing Co. v. American Cas. Co. of

Reading, 713 F.3d 71, 77 (11th Cir. 2013). That standard “allows for a range of
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choices,” “so long as any choice made” was not “a clear error of judgment.”

Collegiate Licensing, 713 F.3d at 77.

                          SUMMARY OF ARGUMENT

      The district court properly concluded that Florida is operating its Medicaid

system in a manner that leads to the unnecessary institutionalization of children

with medical complexity and a serious risk that other such children will be

unnecessarily institutionalized. The court acted well within its discretion in issuing

a limited injunction to remedy that Title II violation. Florida implausibly contends

that the court erred in myriad ways, but the State ignores the court’s factual

findings and supporting evidence; fails to grapple with the court’s discretion to

fashion relief; and misunderstands governing law. This Court should affirm.

      I. Liability. The district court applied the correct standard for evaluating

whether Florida’s 140 institutionalized children with medical complexity may

appropriately live in the community. The court properly credited an expert

pediatrician’s opinion that the children are not different from countless other

children with medical complexity who live at home with their families. Although

Florida contends that the court also should have evaluated the specific homes to

which each child might be transferred, such location-specific analysis is not part of

the appropriateness inquiry.
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      On the non-opposition element, the court correctly held that the relevant

question is whether parents would accept community-based services if Florida

made them available as promised. The court concluded that parents are

overwhelmingly unopposed to community placement, finding that only a minority

of parents chose nursing facilities for reasons independent of Florida. That finding

is not clearly erroneous, and Florida’s arguments to the contrary ignore or

misconstrue critical evidence.

      The court also did not clearly err in finding that the United States’ proposed

modifications are reasonable and would redress the children’s injuries. Florida

ignores the court’s analysis of the evidence and thus offers no basis for second-

guessing it. The court likewise properly determined that Florida had sufficient

notice of the United States’ proposed modifications and ample opportunity to put

on a fundamental-alteration defense, which it chose not to do at trial.

      II. Injunction. The district court properly concluded that systemic relief is

warranted because Florida’s violations of the integration mandate are pervasive.

Florida repeatedly claims that its failures have caused the institutionalization of

only seven children, none of whom is currently institutionalized. Those claims are

false and ignore a wealth of evidence supporting the court’s finding that

unnecessary institutionalization is widespread.
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      Moreover, the integration mandate extends to children with medical

complexity residing in the community, as six circuits have concluded. Here, it is

undisputed that Florida is falling far short in its duty to provide those children

private-duty nursing—a service critical to maintaining their health. Based on that

and other evidence, the court did not clearly err in finding a widespread serious

risk that children with medical complexity in the community will be unnecessarily

institutionalized.

      Additionally, the court did not abuse its discretion in finding that its limited

injunction does not require a legislative appropriation and respects federalism

principles. The court also properly determined that Florida can meet the private-

duty-nursing benchmark. Florida’s arguments to the contrary fail to grapple with

the court’s factual findings and evidence cutting against its position.

      III. Authority To Sue. Finally, the district court correctly held that the

United States has statutory authority to maintain this suit on behalf of all victims of

Florida’s discrimination, not just the victims who filed administrative complaints.

Regardless, this suit’s scope matches the scope of those complaints, some of which

alleged violations against children with medical complexity as a group.
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                                   ARGUMENT

                                           I

       THE DISTRICT COURT PROPERLY FOUND THAT THE
     UNITED STATES ESTABLISHED AN OLMSTEAD VIOLATION

      In Olmstead, the Supreme Court held that under Title II’s integration

mandate, individuals with disabilities are entitled to services in the community—

rather than an institution—when (1) “community placement is appropriate” to their

needs; (2) they do “not oppose[]” such placement; and (3) the placement can be

“reasonably accommodated.” 527 U.S. at 587, 607 (plurality opinion). Contrary

to Florida’s arguments, the district court properly found for the United States on

each element.

A.    The Court Applied The Correct Appropriateness Standard

      Florida first challenges (Br.18-22) one aspect of the district court’s analysis

of the appropriateness element, but its argument falls short.

      1. The court explained that “community placement is considered

‘appropriate’” under Olmstead if children “could live in the community with

sufficient services for which they would be eligible.” Doc. 1170, at 45. The court

made two findings. First, in a ruling Florida does not challenge, the court found

that children with medical complexity who already live in the community—but
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who are at serious risk of institutionalization—can appropriately be served in the

community. Id. at 55. 2

      Second, in a ruling Florida challenges only in part, the court found that

children with medical complexity in nursing facilities can appropriately reside in

the community. Doc. 1170, at 45-55. In making that finding, the court credited

the testimony of Dr. Carolyn Foster, a renowned pediatrician specializing in the

care of such children. Id. at 46 n.37, 48 n.40. Dr. Foster and two other

pediatricians reviewed the medical records of all 140 institutionalized children and

familiarized themselves with services available in Florida. Based on that review,

the experts concluded that each institutionalized child is stable enough to live in a

family-home setting with proper supports. Id. at 48-50 & n.41.

      Dr. Foster testified that the “needs of the[se] children” are the same as the

needs of the hundreds of children she “routinely” sees “in her own practice.” Doc.

1170, at 49; Doc. 906, at 126-127, 150-151, 158 (explaining her clinic is in a poor

area of Chicago and her patients receive services primarily funded by Medicaid).

Significantly, those children “reside at home,” like the “vast majority of children

with medical complexity” and in accordance with medical guidelines. Doc. 1170,



      2
         This Court should not address any challenges Florida declined to assert in
its opening brief, each of which is forfeited. Thompson v. Secretary of State, 65
F.4th 1288, 1297 n.6 (11th Cir. 2023).
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at 49-51; Doc. 906, at 143-150, 159-160. The court further credited Dr. Foster’s

view that children in nursing facilities “are receiving no better or different care

than they would at home.” Doc. 1170, at 53-54.3

      2. Florida does not take issue with the foregoing analysis except to argue

(Br.18) that the court should have evaluated the specific home to which each

institutionalized child “would be transferred.” That is incorrect.

      To the extent Florida contends that the court should have examined whether

parents can currently transfer their children to a particular home, notwithstanding

the unavailability of community-based services sought in this suit, the argument

fails out of the gate. As the court explained, accepting that standard would require

“an evaluation of barriers” that are “outside the families’ control” but “within the

State’s control.” Doc. 1170, at 45. Indeed, if Florida were right, States could

(1) decline to provide services individuals need to live in the community; and then

(2) defeat an Olmstead claim seeking access to those services by arguing

community-based placement is currently inappropriate. Florida cites no court that




      3
         The district court used the phrase “[m]edical appropriateness” to capture
the standard, explaining it may base its appropriateness determination on the
assessments of “[m]edical professionals” without evaluating specific locations to
which each child might be transferred. Doc. 1170, at 45-47; accord Olmstead, 527
U.S. at 602 (appropriateness determinations may be based on “reasonable
assessments” of “professionals”).
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has accepted that circular argument, which would “defeat the purpose of the law.”

Id. at 46-47.

      To the extent Florida instead contends that the court should have evaluated

specific homes to which parents hypothetically would transfer their children if

Florida made community-based services accessible, that contention also fails. As

Olmstead explained, the appropriateness requirement derives in part from statutory

text limiting Title II’s protections to “qualified individual[s]”—persons who, “with

or without reasonable modifications,” “mee[t] the essential eligibility

requirements” for “services.” 527 U.S. at 601-602 (alteration in original) (quoting

42 U.S.C. 12131(2), 12132). That text requires evaluation of individuals’

eligibility for relevant services, not analysis of specific homes to which

institutionalized persons might be transferred.

      The appropriateness requirement also derives from the integration

regulation, which says States must administer services in “the most integrated

setting appropriate to [an individual’s] needs.” Olmstead, 527 U.S. at 602

(emphasis omitted) (quoting 28 C.F.R. 35.130(d)). By using the broad term

“setting,” the regulation calls for an inquiry into the appropriateness of a type of

placement, not a particular location. Supporting that understanding, when

Olmstead applied the appropriateness standard, it did not evaluate the suitability of

any specific placement for the plaintiffs. Instead, it relied on professionals’
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determination that “community-based treatment would be appropriate.” Id. at 602-

603; id. at 600 (focusing on persons “who can handle and benefit from community

settings”).

      No court has adopted Florida’s location-specific standard when evaluating

appropriateness. Courts, including this one, have instead examined whether

individuals can reside in a community-type setting. See, e.g., L.C. v. Olmstead,

138 F.3d 893, 903 (11th Cir. 1998), aff’d in relevant part, vacated on other

grounds, 527 U.S. 581; Steimel v. Wernert, 823 F.3d 902, 915-916 (7th Cir. 2016);

Frederick L. v. Department of Pub. Welfare, 364 F.3d 487, 493 (3d Cir. 2004).

Florida’s reliance (Br.21) on Radaszewski v. Maram, 383 F.3d 599, 608 (7th Cir.

2004), is misplaced, as that decision held only that an individual’s history of living

at home was sufficient to establish appropriateness without suggesting that such

location-specific evidence was also necessary.

      As the district court emphasized, the “safety and suitability” of a child’s

home is “unquestionably important.” Doc. 1170, at 46. But that is to be

“addressed in subsequent phases” of a case as part of the transition-planning

process. Id. at 47. During that process, some parents may decide their children

should remain in nursing facilities. Id. at 52; cf. Olmstead, 527 U.S. at 593, 605

(plaintiff opposed discharge to homeless shelter). Others may need assistance

from care coordinators in relocating to accessible housing, setting up their homes
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with equipment and services, and obtaining other supports. Doc. 906, at 157-158,

213. Either way, it is at the transition-planning stage that specific placements

should be evaluated to ensure they meet children’s needs. Doc. 1170, at 47. This

Court should reject Florida’s chicken-or-egg standard.

B.    The Court Did Not Clearly Err In Finding That Parents Overwhelmingly Do
      Not Oppose Community Placement

      Florida next argues (Br.22-30) that the district court applied an incorrect

standard in evaluating whether parents of institutionalized children oppose

community-based placement, and it contends that the United States failed to satisfy

the correct standard. Because the United States sought “systemwide relief,” it had

to show Florida’s ADA violations—and thus parents’ non-opposition—are

sufficiently “widespread,” Lewis v. Casey, 518 U.S. 343, 359 (1996). That is

established where a “substantial number” of parents are unopposed, Clement v.

California Dep’t of Corr., 364 F.3d 1148, 1153 (9th Cir. 2004), or where

opposition is the “exception rather than the rule,” Walters v. Reno, 145 F.3d 1032,

1049 (9th Cir. 1998).

      The court invoked the correct non-opposition standard and did not clearly err

in applying it.

      1.     The Court Applied The Correct Standard

      The court correctly concluded that “[t]he relevant question” when evaluating

non-opposition is whether parents would accept community-based services “if they
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were actually available and accessible.” Doc. 1170, at 56. The non-opposition

element derives from a regulation specifying that individuals with disabilities need

not “accept an accommodation” that they “choose[] not to accept.” Olmstead, 527

U.S. at 602 (quoting 28 C.F.R. 35.130(e)(1)); 42 U.S.C. 12201(d). The non-

opposition inquiry therefore does not ask whether institutionalized individuals are

seeking discharge now, notwithstanding a State’s failure to provide services they

seek as accommodations. Doc. 1170, at 57. Rather, the question is whether

individuals would accept community placement if those services were available.

Disability Advocs., Inc. v. Paterson, 653 F. Supp. 2d 184, 260-267 (E.D.N.Y.

2009), vacated on other grounds sub nom. Disability Advocs., Inc. v. New York

Coal. for Quality Assisted Living, Inc., 675 F.3d 149 (2d Cir. 2012). A standard

looking only to present-day circumstances “would defeat the purpose of the

integration mandate.” Doc. 1170, at 57.

      The non-opposition standard the court articulated is therefore not one that

“tolerates institutional placement” only when “parents declare unbending

opposition to any transfer to the community, ever,” as Florida claims (Br.25).

Rather, opposition is established when parents do not want their child transferred
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for personal reasons that would control even if Florida provided all community-

based services sought in a lawsuit. 4

      To be sure, parts of the court’s opinion seem to embrace a broader non-

opposition standard. E.g., Doc. 1170, at 61 (“tak[ing] issue with the idea that a

parent who is not ‘ready’ to transition their child home is opposed,” even if “their

unreadiness is due to personal circumstances”). But even if the court evaluated the

evidence under a broader standard, it also evaluated the evidence under the

standard described above, which both parties embraced in district court (Doc. 869,

at 58-59; Doc. 910, at 163-164). Indeed, after articulating a broader standard, the

court explained that, “[a]lternatively, even if [it] were to accept the State’s

interpretation” of the non-opposition standard, Florida “could only prevail” if

enough parents had “personal reasons (outside the State’s failure to provide

services) for choosing nursing facilit[ies]” to “render the group as a whole to be

‘opposed.’” Doc. 1170, at 57. Applying that standard, the court found “as a


      4
         Florida mistakenly argues (Br.28) that an Olmstead claim cannot proceed
unless affected individuals “specific[ally] demand” an accommodation. Neither
decision Florida cites involves Title II’s integration mandate, which places an
affirmative duty on States to “administer services” in “the most integrated setting”
appropriate. 28 C.F.R. 35.130(d); cf. Olmstead, 138 F.3d at 901. Olmstead
accordingly held that individuals need only be “[un]opposed” to community
treatment, 527 U.S. at 602-603, not affirmatively request it. Indeed, it would be
particularly inappropriate to require a specific demand for community-based
services where, as here, many parents were not even aware that was an option.
See, e.g., Doc. 1170, at 19-21.
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factual matter” that parents opposing community-based placement “for reasons

unrelated to the availability of Medicaid services” are “outliers.” Ibid.; id. at 61.

      As explained below, that factual finding is not clearly erroneous. This Court

should affirm the court’s non-opposition ruling on that basis.5

      2.     The Court Did Not Clearly Err In Applying The Standard

      a. For starters, Florida does not challenge the district court’s commonsense

finding that parents of the 1800+ children at serious risk of institutionalization

(Doc. 1170, at 5) are unopposed to community placement. 6 Significantly, that

finding, together with the court’s other Olmstead determinations regarding that

group, justifies systemic relief here. See Doe 1-13 v. Chiles, 136 F.3d 709, 722

n.23 (11th Cir. 1998) (violations affecting “hundreds” are systemwide).

      b. Additionally, the court did not clearly err in finding that parents of

institutionalized children are overwhelmingly unopposed under the standard

discussed above. Doc. 1170, at 57, 61. The court relied in part on the “credible



      5
         The district court emphasized that even though parents opposing
community placement are outliers, their “choice should be honored.” Doc. 1170,
at 51-52. Nothing in the court’s decision or injunction requires such parents to
transfer their children from nursing facilities.
      6
         That finding is implicit in the court’s determination that the United States
established its Olmstead claim with respect to these children (Doc. 1170, at 45,
79). See United States v. $242,484.00, 389 F.3d 1149, 1154-1155 (11th Cir. 2004)
(en banc). Regardless, Florida has forfeited any challenge to the lack of an explicit
finding.
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and convincing” testimony of Dr. Amy Houtrow—an expert in qualitative

research, medical decision-making, and the care of children with medical

complexity. Id. at 55 & n.47, 61. Dr. Houtrow, Dr. Foster, and another

pediatrician used qualitative-research methods to conduct and analyze “semi-

structured interviews” with parents of institutionalized children. Id. at 57-58.

After the 21st interview, they reached a point of data “saturation”—meaning they

had confidence they had a “robust” understanding of participants’ experiences and

no new “themes regarding the families’ views” were likely to emerge—but they

interviewed 45 children’s parents. Ibid.; Doc. 907, at 191, 262-263; see Doc. 907,

at 170-192 (methodology).

      Based on that analysis, Dr. Houtrow opined that, overall, parents of the 140

institutionalized children are unopposed to community placement. Doc. 1170, at

58, 61; Doc. 907, at 295. Setting aside one couple opposed for unique reasons

(Doc. 907, at 201-202), Dr. Houtrow identified three “themes” arising from her

analysis. Doc. 1170, at 58 n.49. First, many parents were “actively seeking their

children’s discharge” and thus were unopposed. Doc. 907, at 202. Second, some

parents were unopposed because they were amenable to placement in a

“community dwelling” other than “their own home.” Ibid.

      Third, many parents “desired their children to be at home but believe[d] that

they had insurmountable barriers.” Doc. 907, at 202. Parents frequently face three
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“major barriers”: (1) the “lack of access to reliable [private-duty] nursing”; (2) the

lack of “effective discharge planning,” including “getting services arranged within

the communit[y]”; and (3) “incomplete or inaccurate information.” Id. at 203, 209,

229. These barriers are within Florida’s control, given its Medicaid program is

responsible for providing private-duty-nursing and care-coordination services. See

p. 6, supra. Indeed, they are the barriers addressed by the district court’s narrowly

tailored injunction. Doc. 1171, at 4-7. Parents who would transfer their children

but for those barriers are therefore unopposed to community placement.

      Given Dr. Houtrow’s rigorous analysis and other corroborating evidence

(e.g., Doc. 1170, at 59-60; pp. 44-46, infra), the district court did not clearly err in

finding that parents of institutionalized children are overwhelmingly unopposed to

community placement. Florida offers four retorts, none persuasive.

      First, Florida argues (Br.28 n.4) that Dr. Houtrow’s testimony is hearsay.

But Dr. Houtrow relied on interviews of a type reasonably relied on by other

medical researchers and applied her clinical and research expertise in performing

her analysis. Doc. 1170, at 55-58 & nn.47-48; Doc. 907, at 136-207. The district

court therefore acted within its discretion in admitting her testimony under Federal

Rule of Evidence 703 (Doc. 907, at 196-197). See United States v. Garcia, 447

F.3d 1327, 1336-1337 (11th Cir. 2006).
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      Second, Florida claims Dr. Houtrow “evaluated the wrong question” because

she did not analyze whether families were “unopposed to transitioning.” Br.27

(quoting Doc. 907, at 272). But, as Dr. Houtrow explained, some families that

“want [their] child [home]” may not “want[] at this time” to “work[] towards [a]

transition” home when the “transition process isn’t going to lead to an acceptable

outcome, which is adequate nursing” and “that sort of thing.” Doc. 907, at 273-

274; id. at 183-184, 228-229. Dr. Houtrow appropriately deemed such families

unopposed.

      Third, Florida questions whether Dr. Houtrow drew the right conclusions

from her interviews, although it cites only 18 of the 45 interviews that it claims she

mistakenly analyzed. According to Florida, those interviews revealed “housing”

barriers “outside Florida’s control,” and thus the parents were incorrectly deemed

unopposed. Br.26. That argument founders on multiple grounds.

      For starters, some obstacles Florida references in the 18 interviews are either

not barriers to community living or are plainly within Florida’s control. For

example, two children’s parents deemed their own homes unsuitable but were

properly found unopposed because they were open to family-based alternatives.

Doc. 987, PEX 5201, at 2-3; Doc. 1010, PEX 5240, at 2-3. Other “housing”

barriers Florida cites concerned accessibility (e.g., Doc. 987, PEX 5212, at 2; Doc.

987, PEX 5222, at 2-3), which Florida could address through its iBudget waiver
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program that provides certain home-modification benefits (Doc. 1170, at 41-43,

64). Still other “housing” barriers involved misinformation, which Medicaid care

coordinators can address. For example, C.A.’s parents were told their home was

insufficient because it lacked a separate space for C.A. Doc. 1010, PEX 5199, at

2-3; Doc. 906, at 118-119; Doc. 987, PEX 5196, at 2 (similar for H.A.). Because

that is wrong (Doc. 907, at 248), Dr. Houtrow correctly deemed C.A.’s parents

unopposed. Confirming her categorization, C.A. came home after his parents

learned their home was sufficient and overcame longstanding barriers in obtaining

nursing and training. Doc. 1170, at 21-22, 40 n.32 (C.A. institutionalized nine

years).

      True, some of the 18 families told the experts they needed to make other

housing adjustments, but nearly all also cited barriers indisputably within Florida’s

control, such as the lack of nursing. If Florida removed those barriers, such parents

may overcome housing obstacles because they would have reason to do so. For

example, K.B.’s mother explained a lack of nursing and other services prevented

K.B. from returning home, and once those services were in place, the family would

merely need to “figure out how to set up [their home’s] space.” Doc. 1010, PEX

5197, at 1-2. Similarly, a parent Florida highlights (Br.26) is trying to move from

a trailer so her child can come home, but she emphasized that nursing would be
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unavailable even if she moves. Doc. 987, PEX 5220, at 2; Doc. 907, at 301; see

also, e.g., Doc. 1010, PEX 5202, at 2.

      In any event, Florida ignores Medicaid housing benefits its managed-care

plans offer, and care coordinators can assist parents in obtaining housing assistance

available in the community. Doc. 899, at 16-17, 72, 132-133, 148-149; Doc. 907,

at 235, 248; Doc. 913, at 22; Doc. 952, PEX 318, at 11031773-75, 11031780-81

(managed-care contract providing for (1) yearly “[h]ousing [a]ssistance”; and

(2) “[t]ransition [a]ssistance” when moving from nursing facility to community).

And even if Florida’s arguments raised questions about whether Dr. Houtrow

properly categorized a smattering of the 45 children’s parents, that would not

undermine the district court’s finding that parents of the 140 institutionalized

children are “overall” unopposed to community placement. Doc. 1170, at 61.7

      Florida’s final attack on the court’s factual finding fails for similar reasons.

It claims (Br.3-4, 9-10, 23) certain testimony shows 24 families chose nursing

facilities for reasons having “nothing to do with Florida.” But even if all 24


      7
         Florida is incorrect (Br.26-27) that “seven parents whom Dr. Houtrow
interviewed and deemed unopposed” later “contradicted her” assessment when
they testified for the State. Compare, e.g., Doc. 987, PEX 5214, at 1-2 (interview
summary), with, e.g., Doc. 894, at 64 (interviewed parent’s testimony).
Regardless, by the time these parents testified, many believed the United States
sued to close Florida’s nursing facilities—a misimpression the district court
reasonably found “may have affected the way they described their experiences.”
Doc. 1170, at 18 n.16.
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families were opposed, that would not “diminish” the “more dominant [contrary]

sentiment” of the 140 parents, much less establish clear error. Doc. 1170, at 61.

Regardless, the cited testimony does not show the families of all 24 children are

opposed.

      For 15 children, Florida cites testimony by nursing-facility employees

providing a snapshot of the employee’s understanding of the child’s status. Br.3-4

(citing Doc. 896, at 101-157; Doc. 912 at 238-268). The court was entitled to

discount those snapshots in favor of Dr. Houtrow’s study relying on well-

established techniques to elicit reliable information from parents (Doc. 1170, at 57-

58 & n.48; Doc. 907, at 160-192). Moreover, evidence showed nursing-facility

employees sometimes inaccurately reported parents were uninterested in

community placement. For example, Florida cites (Br.4) an employee’s testimony

that five-year-old K.R.’s mother “will think about transitioning” K.R. when the

mother and her new baby “are settled” (Doc. 912, at 264). But K.R.’s father

testified he and his wife have wanted—and been ready—to bring K.R. home since

at least mid-2022 but lacked assistance obtaining private-duty nursing and other

supports. Doc. 909, at 4-6, 18-20, 24, 31, 34-37; Doc. 1170, at 26-27.8


      8
        Florida elsewhere incorrectly cites (Br.9) this testimony for the
proposition that K.R. currently “lives in a nursing home” because of her parents’
“housing instability,” “exposure to COVID at work,” and desire to “ready” their
home.
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      Florida’s claim that it had nothing to do with why the 24 families chose

nursing facilities fails for other reasons, too. For example, Florida references

(Br.4, 9-10) a parent who was previously homeless and now has unstable housing.

The State ignores, however, the parent’s testimony that care coordinators neither

told her about available Medicaid housing benefits, nor discussed community

placement in a group home, which she was interested in exploring because she

preferred a home setting for her child, D.W. Doc. 908, at 35-36, 52-53, 59-64, 82-

86.

      In short, the court heard overwhelming evidence that parents of

institutionalized children are overall unopposed to community placement. The vast

majority are seeking their children’s discharge, want their children home but face

obstacles within Florida’s control, or are open to alternative community dwellings.

Florida has not come close to establishing clear error on this record.

C.    The Court Properly Found That The Proposed Modifications Are
      Reasonable

      1.     The Court Did Not Clearly Err In Finding The Modifications Will
             Redress Injuries

      Florida asserts (Br.30-34) that the United States did not show that its

proposed modifications would redress any child’s injuries. It contends that those

changes are accordingly not “reasonable modifications” and that Article III
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redressability is lacking. The district court did not clearly err in rejecting Florida’s

factual contention. Doc. 1170, at 16-18, 61-66.

      a. Take the private-duty-nursing modifications, for example. As the court

explained, the Medicaid Act requires Florida to ensure that Medicaid-enrolled

children in the community receive all medically necessary private-duty nursing.

Doc. 1170, at 72. That requirement is set forth in parts of the Medicaid Act

addressing the “early and periodic screening, diagnostic, and treatment services”

(EPSDT) benefit available to children. See 42 U.S.C. 1396a(a)(43)(A)-(C),

1396d(a), 1396d(r)(5); see O.B. v. Norwood, 838 F.3d 837, 841-843 (7th Cir.

2016); Katie A. v. Los Angeles Cnty., 481 F.3d 1150, 1158-1159, 1162 (9th Cir.

2007).9

      Florida is contravening that mandate, however, because “[m]ost families are

receiving nowhere near the number of [nursing] hours they require.” Doc. 1170, at

6. The court found that “deficit” is resulting in the widespread unnecessary




      9
          Florida is mistaken (Br.40 n.5) that the Medicaid Act does not “demand
100-percent accessibility” here. Even if the general provision Florida cites applied,
it directs States to take certain actions to ensure services are available “at least to
the extent” they “are available to the general population in the geographic area.”
42 U.S.C. 1396a(a)(30)(A) (emphasis added). The EPSDT provisions—which
Florida ignores—require States to exceed that floor for children. Indeed, Florida’s
managed-care contracts require the “100% provision of [private-duty nursing]” to
children. Doc. 1170, at 72; Doc. 840, at 9, 11.
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institutionalization of children with medical complexity and the serious risk

thereof. Id. at 6, 34-37, 44-45.

      The United States proposed multiple methods by which Florida could make

the commonsense modification of expanding access to private-duty nursing, and

the court heard considerable evidence bearing on their effectiveness. Doc. 1170, at

62-66. In particular, Dr. Sara Bachman—a “leading expert[] in Medicaid program

policy, structure, and financing” (id. at 30)—testified about certain “very effective”

tools other States “routinely” use to increase access to services, and she was

“[e]xtremely confident” their implementation in Florida would “enabl[e] more

children to live at home.” Doc. 909, at 121-123, 166-167.

      For example, Dr. Bachman recommended that Florida pay Medicaid private-

duty nurses more, and the court “heard credible testimony that—not surprisingly—

increasing nurses’ pay would result in more available nurses.” Doc. 1170, at 17,

63. Not only did Dr. Bachman and others testify to the efficacy of increasing pay,

but also managed-care organizations in Florida have found that strategy effective,

using so-called “single-case agreements” to “entice” private-duty nurses to take

particular cases “based on an increased reimbursement rate.” Id. at 30, 63; see also

id. at 17, 63 nn.52-53 (discussing other evidence, including Florida’s low rates).

      Dr. Bachman also urged Florida to fine-tune its “network-adequacy

standards”—standards Florida includes in contracts with managed-care plans
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mandating that plans’ networks include a minimum number of providers of various

types (such as home-health agencies, which typically provide private-duty

nursing). Doc. 1170, at 31, 62; Doc. 894, at 175. Florida’s contracts generally

require managed-care organizations to have at least two home-health agencies in

each county. Doc. 1170, at 31; Doc. 894, at 179-180. Dr. Bachman testified that,

instead, Florida should, for example, set the minimum for each county “based on

the number of children who need [private-duty nursing].” Doc. 1170, at 62.

Florida’s expert likewise recommends that managed-care plans exceed the State’s

current standard to “ensure network adequacy.” Doc. 897, at 107.

      As a final example, Dr. Bachman recommended that Florida employ existing

contractual enforcement mechanisms, including corrective-action plans and

liquidated damages, when managed-care plans fail to comply with their “extremely

detailed and demanding” contracts with Florida requiring “100% delivery” of all

medically necessary private-duty nursing (Doc. 1170, at 17, 72). Id. at 31-33, 65,

76-78. Florida’s expert likewise generally supports using those mechanisms for

contractual violations, and he reported that Florida has not imposed liquidated

damages in the past five years for not delivering medically necessary services.

Doc. 897, at 46, 113-116; Doc. 912, at 52, 77-78.

      Based on this and other evidence, the court found that the United States’

proposed private-duty-nursing modifications were reasonable, and thus it
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necessarily determined they would be effective. Doc. 1170, at 66. The court

likewise found redressability established. Id. at 17-18. And the court similarly

analyzed the other modifications the United States sought. Id. at 18, 38-41, 44-45,

62-67, 73-76.

      b. Florida does not take issue with this evidence and analysis except to

complain (Br.31-32) that Dr. Bachman “could not say” whether her proposals

would avert any particular child’s unlawful institutionalization or risk thereof. But

that is because Dr. Bachman looks at gaps affecting larger “population[s]” of

children, not “individual children.” Doc. 909, at 218-219 (Medicaid programs take

similar approach). Although Dr. Bachman did not evaluate the circumstances of

any individual child, she was “[e]xtremely confident” Florida’s implementation of

her proposals would “enabl[e] more children to live at home.” Doc. 909, at 166-

167. Florida offers no basis for second-guessing that well-supported

determination.

      2.     Florida Had Sufficient Notice Of The Modifications

      Finally, Florida contends (Br.34-38) that the injunction requires it to make

certain modifications the United States improperly proposed for the first time in its

post-trial brief addressing remedies. As the district court explained, Florida

“conflates the ‘reasonable accommodations’ element” of an Olmstead claim with

the court’s “determination of injunctive relief.” Doc. 1170, at 67.
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      With respect to the former, an Olmstead plaintiff does more than enough

where, as here, it proposes a particular reasonable modification and proffers

multiple means for implementing it. See, e.g., Steimel, 823 F.3d at 916. If a

defendant does not satisfy its burden of showing the modification would amount to

a fundamental alteration, liability is established. 28 C.F.R. 35.130(b)(7); Frederick

L., 364 F.3d at 492 n.4. The district court then turns to crafting a remedy, at which

point it “retains its usual discretion to enter the appropriate declaratory or

injunctive relief.” Brown v. District of Columbia, 928 F.3d 1070, 1083 n.10 (D.C.

Cir. 2019).

      Here, as the district court concluded, the United States’ “pretrial disclosures

regarding recommended accommodations were detailed enough to put the State on

notice and enable it to plan its defense.” Doc. 1170, at 67.

      a. As to private-duty nursing, those disclosures repeatedly (1) advised

Florida it should meet its obligation under the Medicaid Act to provide all

medically necessary nursing (see p. 30, supra); and (2) identified multiple concrete

means for achieving that goal, such as increasing nurses’ pay and enforcing

contracts with managed-care organizations.

      For example, Dr. Bachman’s expert report—which the United States

incorporated into an interrogatory response (Doc. 789, Ex. 17, at 15)—opined that

Florida can “improve access” to private-duty nursing, thereby “implementing what
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is already clearly delineated in Florida’s Medicaid State Plan,” and the report

identified multiple means for doing so. Doc. 785-6, at 9, 12, 16-19, 23. The

United States’ partial-summary-judgment motion likewise explained Florida

should “expand[] existing in-home nursing services” by “meeting the State’s

existing obligation under federal Medicaid law,” and it proposed tools for

accomplishing that end. Doc. 773, at 18, 30-31. The motion argued that “because

[Florida] already must make medically necessary services accessible” under the

Medicaid Act, “meeting this obligation is inherently reasonable.” Id. at 32; see

Doc. 869, at 13, 41, 59-61, 71 (pre-trial brief) (same); see also Doc. 789, Ex. 17, at

8-10, 16-17 (interrogatory response); Doc. 709, at 15 (opposition to motion to

dismiss); Doc. 840, at 3 (pretrial stipulation); accord Doc. 906, at 17 (opening

statement at trial).

       Accordingly, if Florida believed it would be a fundamental alteration to

expand access to private-duty-nursing services—including by ensuring children

with medical complexity receive up to 100% of their authorized private-duty-

nursing hours, as the Medicaid Act requires—it had “ample opportunity” to put on

a defense to that effect. Doc. 1170, at 67. As the court explained, “the State’s

failure to provide adequate [private-duty nursing] was the cornerstone of this case

from its inception.” Doc. 1178, at 4.
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      When Florida failed to establish such a defense, the court properly turned to

fashioning a remedy. Florida “refused,” however, “to engage in efforts to craft any

meaningful solutions” (Doc. 1170, at 78), and thus the court appropriately

exercised its remedial discretion by requiring Florida to provide children 90% of

all private-duty-nursing hours authorized by Medicaid and desired by parents.

Doc. 1171, at 3-5. In doing so, the court afforded Florida flexibility many States

would welcome, allowing it to use not just the tools the United States proposed for

increasing access, but also any other means to reach the benchmark. Ibid.; Doc.

1170, at 72. Florida can hardly complain that it did not know the benchmark

would be set at 90% when the United States proposed an even more restrictive

modification—expansion of nursing services in a manner that complies with the

Medicaid Act.

      b. Florida fares no better in arguing (Br.35) that certain other injunctive

provisions are similarly infirm. It contends, for example, that the United States did

not provide adequate notice that it was seeking certain changes to how Florida

oversees Medicaid care-coordination services and the process for planning

children’s transition out of nursing facilities. Br.35 (citing Doc. 1171, at 3, 5-7

(Sections I(O), III(B)-(G), IV(A), IV(C))). Not so. See, e.g., Doc. 785-6, at 14-16,

20; Doc. 789, Ex. 17, at 13-17; Doc. 773, at 19, 31; Doc. 863, at 3-5, 13-14; Doc.

869, at 20, 44-45, 59, 71; accord Doc. 906, at 17. Indeed, Florida did not even
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mount an unfair-surprise argument in district court with respect to Parts III(B)-(D)

of the injunction, thus forfeiting any such challenge. Doc. 925, at 14-15.

Moreover, the parties presented substantial evidence at trial about care-

coordination and transition-planning services, underscoring that both sides knew

they were at issue. See Doc. 1170, at 38-41, 64, 73-76.

      Furthermore, as the court explained, that some of the “remedial language” in

the injunction “is more detailed” does not mean Florida could not mount a

fundamental-alteration defense. Doc. 1170, at 67. And, of course, once a court

finds a violation of the statute, it has discretion to order commonsense remedies to

address it. See, e.g., United States v. Virginia, 518 U.S. 515, 547 (1996); Brown,

928 F.3d at 1083 n.10. Here, for example, regardless of the United States’ notice,

it was within the court’s discretion to require Florida to initiate a process to

determine whether and how each institutionalized child can go home or to the

community—relief that is necessary to right the wrong here.

                                           II

       THE DISTRICT COURT ACTED WITHIN ITS DISCRETION
                  IN ISSUING THE INJUNCTION

      Florida next contends that even if it violated Title II, aspects of the district

court’s injunction are infirm. The State has not, however, established any abuse of

discretion.
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A.    The Court Properly Found Widespread Violations

      Florida first argues that its statutory violations were not “widespread”

enough to justify “systemwide relief” under Lewis, 518 U.S. at 359. In making

that argument, Florida contends in passing (Br.40-41) that Title II prohibits

unjustified institutionalization, but not the “risk” of such institutionalization, and it

argues (Br.38-42) that the record did not show widespread violations either way.

The district court correctly held that a “serious risk” of institutionalization is

actionable (Doc. 1170, at 8-9), and it did not clearly err in rejecting Florida’s

factual contentions (id. at 18, 34-45, 68 n.55). Indeed, Florida’s factual

arguments—including its claims that it is responsible for the institutionalization of

only seven children—overlook extensive contrary evidence.

      1.     The Integration Mandate Protects Individuals In The Community

      As six circuits have concluded, Title II and the integration regulation

prohibit not only the unnecessary institutionalization of individuals with

disabilities, but also the “serious risk” of such institutionalization. See Davis v.

Shah, 821 F.3d 231, 263 (2d Cir. 2016); Pashby v. Delia, 709 F.3d 307, 322 (4th

Cir. 2013); Waskul v. Washtenaw Cnty. Cmty. Mental Health, 979 F.3d 426, 460-

461 (6th Cir. 2020); Steimel, 823 F.3d at 914 (7th Cir.); M.R. v. Dreyfus, 697 F.3d

706, 734-735 (9th Cir. 2012); Fisher v. Oklahoma Health Care Auth., 335 F.3d

1175, 1181-1182 (10th Cir. 2003).
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      That conclusion follows from the integration regulation’s text, which

specifies that States “shall administer services” in the “most integrated setting

appropriate to the needs of qualified individuals with disabilities.” 28 C.F.R.

35.130(d). Significantly, that text does not say “institutionalization is a

prerequisite to enforcement” of the integration mandate. Davis, 821 F.3d at 263

(citation omitted). Rather, where, as here, a State deprives qualified individuals

with disabilities who live in the community of services that are critical to

maintaining their health—and thereby creates a serious risk that they will be forced

to seek care in institutions—the State fails to “administer [its] services” in the

“most integrated setting appropriate to [their] needs.” 28 C.F.R. 35.130(d); accord

Radaszewski, 383 F.3d at 607-608, 611, 614-615. When a reasonable

accommodation would fix the problem, the State additionally fails to “avoid

discrimination,” as required by the reasonable-modification regulation. 28 C.F.R.

35.130(b)(7)(i).

      Persons at serious risk of unnecessary institutionalization are subjected to

discrimination under the statute as well. In Olmstead, the Supreme Court

concluded that unnecessary institutionalization is a form of unlawful

discrimination because, “to receive needed medical services,” individuals with

disabilities must “relinquish participation in community life they could enjoy given

reasonable accommodations,” while persons without disabilities “can receive the
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medical services they need without similar sacrifice.” 527 U.S. at 601. The

children facing a “serious risk” of unnecessary institutionalization here are

likewise subjected to unlawful discrimination: unlike individuals without

disabilities, they must “choose between forgoing necessary medical services while

remaining in the community or receiving necessary medical services while

institutionalized.” Waskul, 979 F.3d at 460; see also Olmstead, 138 F.3d at 899;

M.R., 697 F.3d at 735.

      Thus, “while it is true that the plaintiffs in Olmstead were institutionalized at

the time they brought their claim, nothing in the Olmstead decision supports a

conclusion that institutionalization is a prerequisite to enforcement of the ADA’s

integration requirements.” Fisher, 335 F.3d at 1181. For these reasons, DOJ

issued guidance in 2011 stating that “the ADA and the Olmstead decision extend to

persons at serious risk of institutionalization.” DOJ, Statement of the Department

of Justice on Enforcement of the Integration Mandate of Title II of the Americans

with Disabilities Act and Olmstead v. L.C., Q. 6, https://perma.cc/M2UC-22BY.

Although, the United States believes the integration regulation is unambiguous,

DOJ’s longstanding, authoritative, expertise-based, and considered guidance is at

least a reasonable interpretation of DOJ’s regulation and warrants deference under

Kisor v. Wilkie, 139 S. Ct. 2400, 2414-2418 (2019).
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      Only one circuit—the Fifth—has reached a contrary conclusion, but its

decision is wrong and inapplicable in any event. In United States v. Mississippi,

82 F.4th 387, 392-398 (5th Cir. 2023), that court held that, on the record there, a

serious risk that individuals with serious mental illness would be unnecessarily

hospitalized was not actionable. In reaching that incorrect conclusion, however,

Mississippi did not grapple with the statutory and regulatory arguments advanced

above, and it misunderstood certain circuit decisions. See, e.g., id. at 392

(incorrectly stating Fisher found at-risk claims cognizable because they are not

“prohibited” by statute or regulation).

      Regardless, Mississippi concluded that it “need not say” whether its six

sister circuits were “wrong” to hold that Title II prohibits the “serious risk” of

unnecessary institutionalization, stating their decisions are “significantly factually

distinguishable.” 82 F.4th at 396. The Fifth Circuit observed that those decisions

involved “claims for personal care services or medically necessary items,”

including claims seeking private-duty nursing. Id. at 396 & n.17 (citing

Radaszewski, 383 F.3d at 600). Mississippi emphasized that the “consequences of

providing personal care services” for only part of the day are “susceptible” to

“quantification” and “generalization,” id. at 396—analysis that applies equally to

the private-duty-nursing gaps here. In the court’s view, however, the same is not

true of a failure to provide services to individuals with serious mental illness. Ibid.
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Mississippi was gravely mistaken in relying on that distinction. But given its

narrow holding and explicit distinguishing of the type of service sought here, an

affirmance would not conflict with Mississippi.

      Florida offers two counterarguments, both flawed. First, Florida finds it

significant that Title II’s text does not say that individuals “about to be subjected to

discrimination” may sue. Br.41 n.6 (citation omitted). As explained, however,

Florida is already discriminating against children with medical complexity in the

community by denying them critical medical care promised in an institution and

thereby placing them at serious risk of unnecessary institutionalization.

Regardless, the governing statutory text is broad, providing remedies to “any

person alleging discrimination.” 42 U.S.C. 12133.10

      Second, Florida contends that children at “risk” of unnecessary

institutionalization do not satisfy Article III’s injury-in-fact requirement (Br.40-

41), ignoring that the district court found that the children here are at “serious risk”

of unnecessary institutionalization (Doc. 1170, at 18, 45, 79 (emphasis added)).



      10
         Even if a serious risk of unnecessary institutionalization were not itself
actionable under Title II, the relief the district court granted the at-risk children
would still be appropriate to prevent the unnecessary institutionalization Olmstead
indisputably proscribes. See, e.g., United States v. W. T. Grant Co., 345 U.S. 629,
633 (1953) (explaining “[t]he purpose of an injunction is to prevent future
violations” and such relief is appropriate where there is a “cognizable danger of
recurrent violation”); Thomas v. Bryant, 614 F.3d 1288, 1318 (11th Cir. 2010).
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Regardless, Florida’s deprivation of medically necessary services in the

community—not to mention the dire consequences flowing from that deprivation

(see pp. 47-48, infra)—inflicts an Article III injury on the children. Bill M. v.

Nebraska Dep’t of Health & Hum. Servs. Fin. & Support, 408 F.3d 1096, 1099

(8th Cir. 2005), vacated on other grounds, 547 U.S. 1067 (2006). Moreover, this

suit was brought by the United States, which has suffered an “injury to its

sovereignty arising from violation of its laws” sufficient to satisfy Article III

standards. Vermont Agency of Nat. Res. v. United States ex rel. Stevens, 529 U.S.

765, 771 (2000); see United States v. Raines, 362 U.S. 17, 27 (1960).

      2.     The Court Did Not Clearly Err In Finding The Violations Pervasive

      The district court did not clearly err in finding that children with medical

complexity are unjustifiably “institutionalized or at serious risk of being so because

of a combination of the State’s systemic failings,” including its shortcomings in

providing private-duty nursing and overseeing care-coordination services. Doc.

1170, at 18, 34-45. The court therefore properly determined that Florida’s Title II

violations are widespread enough to warrant systemic relief. Id. at 68 n.55.

      a. Private-Duty Nursing. Florida does not dispute the widespread nature of

its substantial shortfalls in providing private-duty nursing to children with medical

complexity. Doc. 1170, at 34-39, 68 n.55; Doc. 909, at 104. That is significant

because, as Dr. Foster explained, private-duty nursing is a “vital” service in which
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a skilled nurse administers medications, monitors children for medical problems,

and otherwise “execute[s]” a doctor’s “plan of care.” Doc. 906, at 140 (children

“use technology to keep them alive”); see also Doc. 913, at 35-36. Given that and

other record evidence, the district court did not clearly err in finding that Florida’s

pervasive private-duty-nursing failings have resulted in widespread unnecessary

institutionalization and a serious risk thereof, despite parents’ “heroic” efforts to

keep their children home. Doc. 1170, at 6, 36-37, 44-45.

      i. Widespread Unnecessary Institutionalization. Starting with the court’s

institutionalization finding, Florida is wrong (Br.38-39) that the court relied solely

on evidence that seven children were placed in nursing facilities as a direct result

of inadequate private-duty nursing, although that evidence was compelling. Doc.

1170, at 36-37. The court also cited two other families’ testimony that insufficient

nursing delayed their children’s transfers and a nursing-facility official’s testimony

that “the lack of around-the-clock nursing was the biggest obstacle to discharging

children.” Id. at 37.

      Other evidence confirms these families’ experiences are not unique. When

Dr. Houtrow analyzed the experiences of institutionalized children’s parents, she

found that the “lack of access to reliable nursing” was an “incredibly frequent and

incredibly intense” theme that was a “reason so many of these children are residing
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in nursing facilities.”11 Doc. 907, at 203, 205, 207; see Doc. 913, at 24. Indeed,

even a witness handpicked by Florida testified she placed her daughter in a nursing

facility because of insufficient private-duty nursing. Doc. 894, at 18, 21, 26, 29-31

(D.O.). Additional record documents tell the same story for other families. E.g.,

Doc. 1007, PEX 1243, at 11064381, 11064391 (documenting K.G.’s placement in

facility and explaining nursing was “[in]consistent” and parents could not “safely”

care for her “without consistent service”). The medical director of one of the

nursing facilities—another witness Florida called—likewise testified that, in his

experience, the lack of private-duty nursing can require children to go to a hospital

or nursing facility. Doc. 896, at 7-8, 11-12, 53. And an expert for Florida

explained that if more private-duty nurses were available, more children in nursing

facilities could go home. Doc. 911, at 12, 20-21. 12


      11
         To the extent Florida challenges that determination, it is amply supported
by the experts’ interview notes. Docs. 987 & 1010, PEX 5192-5243.
      12
          Florida repeatedly claims (Br.9-10, 15, 29) that (1) parents of only three
institutionalized children testified for the United States; and (2) no children are
currently institutionalized because of Florida. In fact, the parents of five
institutionalized children testified for the United States, and all explained how
Florida’s actions contributed to their children’s institutionalization. Doc. 906, at
249-250, 259-262, 268-271, 277 (J.M.); Doc. 1194-4, at 17-21 (C.N.); pp. 26, 28,
29, supra (C.A., K.R., D.W.); see also Doc. 1170, at 37 (discussing J.M., C.N.,
C.A., and K.R., the second, fourth, fifth, and sixth children mentioned); id. at 19-
22, 26-27 (C.A., K.R.). Moreover, Florida ignores the other evidence discussed
above and the testimony of Brenda Legge, who identified children in her nursing
facility due to nursing gaps. Doc. 1170, at 37.
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        Florida observes (Br.28-29) that one of the United States’ interrogatory

responses identified only seven children admitted to nursing facilities because of

inadequate private-duty nursing, but that response only underscores the

pervasiveness of the problem. Five of the seven children listed are not among

those discussed above (Doc. 1122-9, at 4-8), making it clear that the United States

presented some—but far from all—of its evidence at the time-limited trial.

Moreover, the universe of children evaluated in that interrogatory response was

relatively small: it consisted of children known by the United States to have been

transferred to nursing facilities since 2019 after experiencing gaps in nursing in the

community. Doc. 1122-9, at 2-3. The United States did not list any children

admitted to facilities from hospitals—children who make up a majority of the

nursing-facility population (Doc. 896, at 16-17, 104-105), and whose admission

can also result from parents’ inability to establish the private-duty nursing they

need so their children can come home (e.g., Doc. 894, at 20-21; Doc. 907, at 237-

238).

        The evidence the United States presented, together with corroborating

evidence Florida itself introduced, was therefore more than enough to support the

court’s finding that Florida’s private-duty-nursing failings have resulted in

widespread unlawful institutionalization. See, e.g., Clement, 364 F.3d at 1153

(“substantial number” enough). Florida has not established clear error.
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      ii. Widespread Serious Risk Of Unnecessary Institutionalization. The court

also did not clearly err in finding that Florida’s private-duty-nursing failings have

contributed to a widespread serious risk that children in the community will be

unnecessarily institutionalized. All eight parents who testified about caring for

their children at home in the face of nursing gaps described “horrific stories” about

their “desperat[ion]” as they struggled to cover those gaps—struggles that have

resulted in lost jobs and homes, diminished sleep and health, fears for their

children’s safety, and other perilous circumstances. Doc. 913, at 46-47 (court’s

characterization); see, e.g., Doc. 1170, at 22-25, 28-30; Doc. 906, at 234-235, 238-

239, 264-268; Doc. 907, at 76-81, 92-96, 101-104; Doc. 1194-1, at 20-22; pp. 7-8,

supra. Three care coordinators likewise testified about the substantial impacts

nursing gaps can have on families, including the death of children. Doc. 908, at

112-113; Doc. 899, at 100, 160-163. Significantly, Florida did not call any

witnesses to testify that these families’ experiences are unusual.

      Nor could it have done so. Families of Medicaid-eligible children are poor,

and many have only a single parent. See, e.g., Doc. 909, at 45. As a result, they

live on the edge as they attempt to cover significant nursing gaps while also

(1) holding down jobs (when feasible) to pay for housing and other needs; and

(2) caring for other family members and attending to their own health, both of

which can present unpredictable challenges. See, e.g., Doc. 1194-3, at 7-9 (parent
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explaining negative “domino effect” of lack of nursing on his jobs, health, and

son’s care). Because of these precarious circumstances, parents may become

unable at any time to cover nursing gaps, and yet the care in question is critical to

keeping children with medical complexity alive. Such children are accordingly at

a serious risk, and perpetually on the brink, of entering nursing facilities to obtain

life-sustaining care. Florida is plainly failing to “administer [its] services” in the

“most integrated setting appropriate.” 28 C.F.R. 35.130(d).

      Still other evidence supports that conclusion. For example, the fact that

many children have already been institutionalized because of a lack of private-duty

nursing (see pp. 44-46, supra), underscores the serious risk of institutionalization

facing children in the community experiencing similar nursing gaps. Indeed,

some parents reluctantly acknowledge that if they cannot continue covering those

gaps, they may have no choice but to institutionalize their children “as a last

resort.” Doc. 910, at 114-115; Doc. 1194-1, at 26. That accords with

recommendations of some care coordinators that parents facing nursing gaps

should move their children to facilities. E.g., Doc. 1194-3, at 21-22; Doc. 910, at

115. It is thus no surprise that one care-coordinator manager acknowledged the

“serious risk” of institutionalization posed by inadequate nursing (Doc. 896, at

212-213, 235) and that Dr. Bachman likewise testified that nursing gaps place

children at risk (Doc. 909, at 100).
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      After hearing all this evidence, the court reached the commonsense

conclusion that pervasive gaps in providing children critical private-duty nursing

have resulted in a widespread serious risk of unnecessary institutionalization.

Florida wholly ignores that evidence and thus comes nowhere close to establishing

that the court clearly erred.13 See Waskul, 979 F.3d at 461-462 (deeming

individuals facing similarly precarious circumstances at serious risk); Radaszewski,

383 F.3d at 608, 614-615 (claim that lack of private-duty nursing “portends”

institutionalization may proceed); see also Pashby, 709 F.3d at 322.

      b. Care Coordination. The court likewise did not clearly err in determining

that Florida’s pervasive failures in overseeing Medicaid care-coordination services

contribute to widespread statutory violations. Doc. 1170, at 38-41, 44-45, 68 n.55.

In analysis Florida ignores (Br.42 n.7), the court described, for example,

undisputed evidence that (1) care coordinators routinely fail to obtain necessary

private-duty nursing for children; and (2) Florida’s data collection does not allow it

to have a “comprehensive picture” of care coordinators’ failures in this and other

regards, making it difficult for Florida to take corrective action. Doc. 1170, at 38-



      13
          As the discussion above makes clear, Florida is quite wrong (Br.40) that
the only evidence about children with medical complexity in the community is
found in “seven spreadsheets.” Moreover, contrary to Florida’s implication, the
cited spreadsheets are themselves compelling, as they document Florida’s
substantial nursing gaps on a child-by-child basis. See, e.g., PEX 2610.
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41 & n.33. The court also explained that even though care coordinators are tasked

with informing parents about alternatives to nursing-facility placement, testimony

by both sides’ witnesses “was replete” with examples of parents “being given no

information or misinformation.” Id. at 40; see also id. at 19-21, 25-29 & n.21

(describing substantial delays in transfers from facilities because of misinformation

or lack of information); Doc. 907, at 209, 229; Doc. 1194-1, at 16.

      Quite plainly, Florida’s pervasive failures in overseeing the care-

coordination system deprive parents of information and resources needed to

establish and maintain services needed for their children to live in the community.

The court thus did not clearly err in finding those failures contribute to Florida’s

widespread violations of the integration mandate.

      Florida’s only response is to observe (Br 42. n.7) that quality-of-medical-

care challenges are not cognizable under the ADA. As the court explained,

however, the United States does not claim that Florida’s care-coordination services

themselves violate the ADA. Doc. 1178, at 2 n.1. Rather, the United States’ claim

is that Florida is violating the integration mandate by not providing nursing and

other medically necessary services to children in an integrated setting, and it

contends that Florida’s failures in overseeing care coordination contribute to that

result. That claim is cognizable, and Florida points to no contrary case law. See

Olmstead, 527 U.S. at 603 n.14; cf. Buchanan v. Maine, 469 F.3d 158, 173-175
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(1st Cir. 2006) (not recognizing adequacy-of-treatment claim but emphasizing case

did not concern integration mandate).

B.    The Injunction Respects Federalism Principles

      As the district court explained, its injunction “flows from the evidence,” is

“tailored to make essential changes,” and is “mindful of federalism concerns.”

Doc. 1170, at 68. Florida nonetheless contends that the remedy violates federalism

principles for three reasons, none of which withstands scrutiny.

      1. First, the State argues (Br.44-45) that the court “seized control of

Florida’s administration of services to children with complex medical needs” and

“encumber[ed]” its Medicaid program with “onerous mandates found nowhere in

federal law.” Tellingly, Florida offers no examples of offending provisions.

      In fact, the injunction is limited. It principally requires Florida to use any

tools it chooses to provide children 90% of private-duty nursing hours authorized

by Medicaid and desired by parents. Doc. 1171, at 3-5. Significantly, that remedy

requires even less than the 100% coverage Florida must already provide under the

Medicaid Act. See p. 30, supra. Moreover, Florida’s legislature has already

“recognized the need to improve the delivery of [private-duty nursing] and

attempted to take steps to address it,” underscoring the lack of federalism concerns

here. Doc. 1178, at 4; Doc. 1170, at 69-72.
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      The injunction’s only other requirements are that Florida (1) increase

oversight over the care-coordination system in a handful of specified ways;

(2) follow particular steps—many of which are already required by state regulation

and contract—to facilitate the transition of children from nursing facilities to the

community when desired by families; and (3) collect certain data to facilitate the

foregoing tasks. Doc. 1171, at 3-8; see Doc. 1170, at 67-78. Florida fails to

explain how those modest requirements are unduly “onerous” or “seize[] control”

of its service system. Br.45.14

      2. The State next claims (Br.45) that the injunction’s private-duty-nursing

remedy improperly “coerces Florida into seeking appropriations” to increase

nurses’ pay. Florida appears to recognize that the injunction allows it to use any

tools to attain the 90% benchmark, but it argues (Br.45) that the “only means that

the court found would be effective” is “higher reimbursement rates.” Not so. As

explained (at 31-33), the court deemed multiple tools for expanding access to

private-duty nursing effective. Florida does not contend that those alternative



      14
          Relatedly, Florida invokes (Br.43) Biden v. Nebraska, 143 S. Ct. 2355,
2368 (2023) (citation omitted), which interpreted the word “modify” in a student-
loan statute to mean “change moderately or in [a] minor fashion.” But Florida
offers no reason to import Biden’s interpretation into the Title II context—a
context in which 28 C.F.R. 35.130(b)(7)’s fundamental-alteration defense provides
an avenue for addressing concerns about substantial changes. Regardless, the
injunction’s modifications are moderate.
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approaches—or the additional means the court suggested (Doc. 1170, at 68-72, 76-

78; Doc. 1171, at 3-5)—require appropriations.

      Regardless, the record does not establish that appropriations are required to

increase nurses’ pay. Indeed, Florida cites (Br.45) only three pages out of the

voluminous trial record addressing nurses’ pay that could even potentially support

its argument. Doc. 897, at 69, 144; Doc. 1107, PEX 4509, at 1. Even if those

pages suggested appropriations are necessary rather than merely sufficient, Florida

ignores Dr. Bachman’s testimony that an appropriation would not necessarily be

required because, for example, “the money could come from efficiencies that result

from an improved system of care.” Doc. 909, at 186-189; see also Doc. 897, at 21-

26, 90, 97.

      Given Florida’s scant evidence on this issue, Dr. Bachman’s persuasive

testimony, and the multiple means available to Florida for achieving the 90%

benchmark, the court acted well within its discretion in finding that its injunction

does not require appropriations. Doc. 1170, at 72; Doc. 1178, at 5. And even if

the injunction pressured Florida to seek an appropriation, it would still be

consistent with federalism principles. See Milliken v. Bradley, 433 U.S. 267, 288-

291 (1977) (holding injunction requiring State to expend funds to comply with

federal law was consistent with federalism principles). Indeed, “[i]nadequate state

appropriations do not excuse noncompliance” with federal law. Doe 1-13, 136
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F.3d at 722 (brackets in original; citation omitted); see also Wyatt v. Aderholt, 503

F.2d 1305, 1317-1318 (5th Cir. 1974) (giving state legislature opportunity to

appropriate funding for remedy and thereby avoiding federalism-based questions

that might arise concerning alternative intrusive remedies).

      3. Finally, Florida claims (Br.46) that the injunction’s “monitor provisions

reduce [it] to federal management.” But the prescribed monitor has no control

over Florida’s activities; instead, he merely issues reports “evaluating the State’s

compliance” with the injunction. Doc. 1171, at 9-10; Doc. 1170, at 78; see Local

28 of Sheet Metal Workers’ Int’l Ass’n v. EEOC, 478 U.S. 421, 482 (1986).

Florida complains (Br.46) that the monitor has “full access” to “persons,”

“documents,” and the like, but the State neglects to mention that such authority

must be exercised in a “reasonable” manner and only as “necessary to assess the

State’s compliance.” Doc. 1188, at 2. In short, Florida’s federalism-based

challenges are meritless.

C.    The Court Acted Within Its Discretion In Determining Florida Can Meet
      The Nursing Benchmark

      Finally, Florida challenges (Br.47-51) the feasibility of the injunction’s

requirement that it provide children 90% of all authorized and desired private-duty-

nursing hours—a benchmark Florida will work towards on a reasonable timetable.

Doc. 1171, at 3-5. The district court did not, however, abuse its discretion in

finding the 90% benchmark “well within [Florida’s] capabilities.” Doc. 1170, at
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68; see also Doc. 1178, at 4 (explaining Florida “had a full and fair opportunity” to

raise its “alleged inability to comply” by presenting a fundamental-alteration

defense, which it “chose not to put on”). 15

      As explained (at 31-33), the court found Florida has numerous reasonable

tools at its disposal for expanding access to private-duty nursing. Florida observes

(Br.49-50) that Dr. Bachman did not evaluate whether those tools would “increase

[nursing] service utilization” in Florida and never “determine[d] why children [in

Florida] do not utilize all authorized hours.” But Dr. Bachman did not conduct that

analysis because Florida’s data did not allow for it—an informational deficit she

recommended the State correct by collecting better data. Doc. 909, at 112-113;

Doc. 1170, at 62. Moreover, data that were available were sufficient for Dr.

Bachman to conclude that Florida’s children have an access-to-care problem. And

she was “[e]xtremely confident” Florida could address that problem with the “very

effective” tools she recommended, which other States “routinely” use. Doc. 909,

at 104, 113-115, 121-123, 166-167, 195; Doc. 1170, at 35, 36 n.30. Given that and

other corroborating evidence, the court did not clearly err in finding Dr.

Bachman’s approaches effective.


      15
        Florida appears to recognize that courts may issue injunctions that set
performance goals and allow defendants a “choice of means” to attain compliance.
Brown v. Plata, 563 U.S. 493, 500-502, 509-510 (2011); Thomas, 614 F.3d at
1325.
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      The court accordingly properly exercised its discretion in finding Florida can

meet the 90% benchmark, which is less stringent than the Medicaid Act

requirement. Doc. 1170, at 68, 72. Other evidence confirms the 90% benchmark

is within reach once Florida acts to increase access. On average, children with

medical complexity already receive 70-80% of authorized private-duty-nursing

hours. Id. at 35. Moreover, three managed-care plans have succeeded in

delivering an average of 84-89% of authorized hours. PEX 2604, 2607-2608.

Significantly, those figures reflect hours undelivered for any reason. Doc. 909, at

171-175. By contrast, the court’s benchmark is based on a more State-friendly

ratio that excludes certain unused hours: (nursing hours delivered) / (authorized

hours minus hours undelivered because of hospitalization or parental refusals).

Doc. 1171, at 3; see Doc. 1170, at 72; Doc. 1178, at 3 n.3.

      Florida resists, arguing (Br.47-49) that the 90% benchmark is unachievable

because of a nationwide nursing shortage. But Florida points to no evidence that

the shortage precludes it from expanding access to private-duty-nursing services.

Moreover, Dr. Bachman opined—based on her careful analysis of data about

nursing-service gaps in Florida—that “a national nursing shortage is not primarily

responsible for th[ose] gaps,” and Florida’s expert expressed a similar view. Doc.
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1170, at 35; Doc. 909, at 109.16 Florida does not argue that the court clearly erred

in crediting those opinions, which are reinforced by evidence already discussed.

      The court therefore did not abuse its discretion in determining Florida can

reach the 90% benchmark. See, e.g., South Carolina v. United States, 907 F.3d

742, 764-765 (4th Cir. 2018) (affirming injunction when defendant did not show

compliance was “truly impossible”). But should the court’s well-supported

predictions turn out to be unduly optimistic, Florida can always move to modify

the injunction or, if needed, raise impossibility as a defense to a contempt

proceeding. See id. at 765 (relying on this consideration in affirming).

                                         III

           THE UNITED STATES HAS STATUTORY AUTHORITY
                    TO MAINTAIN THIS ACTION

      Finally, Florida argues (Br.51-53) that the United States lacks statutory

authority to pursue this suit. The district court correctly disagreed. Doc. 1170, at

14-15.

      In the first appeal, this Court held that Title II authorizes the Attorney

General to sue. Florida, 938 F.3d at 1250. Specifically, Title II’s enforcement



      16
         As Florida notes (Br.49), its expert testified that one private-duty-nursing
company’s average utilization rate in seven states is less than 70%. Doc. 897, at
42. Significantly, the low rate was due not to “staffing shortages” but to “lots of
other reasons.” Id. at 42-43.
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provision grants “person[s] alleging discrimination” the “remedies, procedures,

and rights” set forth in the Rehabilitation Act and Title VI of the Civil Rights Act

of 1964. 42 U.S.C. 12133 (incorporating 29 U.S.C. 794a(a)(2), which incorporates

42 U.S.C. 2000d et seq.). This Court explained that one of the incorporated

statutes’ “remedies, procedures, and rights” is the ability to file an administrative

complaint that may result in an investigation and enforcement action by the

Attorney General. Florida, 938 F.3d at 1229-1238. Thus, this Court held, Title

II’s “express” language adopts the same “remedial structure.” Id. at 1244-1245,

1248, 1250.

      Florida argues (Br.52) that if the United States can sue, it may seek relief

benefitting only some victims of the State’s discrimination—children who

submitted administrative complaints prompting DOJ’s 2011 investigation (Doc.

1170, at 11). Florida acknowledges there is one such child who has not died,

moved out of Florida, or aged out of obtaining relief—C.M.17 Florida’s

construction of Title II—which would delay the enforcement of critical statutory




      17
          According to Florida (Br.52), “this Court resolved [C.M.’s] claim.” That
is misleading. C.M. was a plaintiff in another action, but this Court concluded the
plaintiffs’ Olmstead claims asserted only a narrow challenge to four state policies
that were subsequently changed, mooting the claims. A.R. v. Secretary Fla.
Agency for Health Care Admin., 769 F. App’x 718, 721-727 (11th Cir. 2019).
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rights and waste the resources of courts, federal agencies, and parties—is faulty for

multiple reasons.

        Florida’s “theory of how § 12133 works fails” because it “diverges from

how the enforcement statutes on which § 12133 relies function.” Doc. 1170, at 14-

15. Under those statutes, the federal government is not limited to seeking relief on

behalf of complainants alone—a conclusion that follows directly from the

regulations and cases this Court analyzed in Florida, 938 F.3d at 1229-1238. See,

e.g., 45 C.F.R. 80.7(c)-(d) (Title VI regulation) (administrative investigations

should identify any “failure to comply with [the law]”). For example, in United

States v. Board of Trustees, 908 F.2d 740, 742, 752 (11th Cir. 1990), the United

States’ Rehabilitation Act suit was prompted by one student’s complaint

challenging the denial of a sign-language interpreter, and yet this Court affirmed an

order generally barring a university from denying all disabled students auxiliary

aids.

        Because Florida held that Title II adopts the remedial mechanisms of the

Rehabilitation Act and Title VI, 938 F.3d at 1250, it follows that Title II likewise

permits the United States to seek judicial relief benefitting complainants and other

victims of the same discrimination. Indeed, Florida recognized as much when it

acknowledged that “government enforcement” does not allow complainants to

“seek personal redress” but nonetheless benefits them because it “[e]nsur[es]”
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States “comply with stat[utes],” thereby “ultimately vindicat[ing] individuals’

personal rights.” Id. at 1238.

      The Supreme Court’s interpretation of the “analogous enforcement scheme”

in Title VII of the Civil Rights Act of 1964 “further undermines [Florida’s]

constrained view.” Doc. 1170, at 15. Like Title II, Title VII prescribes an

administrative process that generally begins when an individual files a complaint—

there, a “charge” with the Equal Employment Opportunity Commission (EEOC).

42 U.S.C. 2000e-5(b). Subsequent “EEOC enforcement actions,” however, “are

not limited to the claims presented by the charging parties.” General Tel. Co. of

the Nw., Inc. v. EEOC, 446 U.S. 318, 331 (1980). Rather, the EEOC may seek

relief on behalf of all persons affected by alleged discrimination. Id. at 320-321,

324, 333; Mach Mining, LLC v. EEOC, 575 U.S. 480, 484, 494-495 (2015).

Florida does not explain why a different result should obtain here.

      Regardless, even if the United States’ enforcement action must match the

scope of the administrative complaints, this suit still would be authorized. That is

because some administrative complaints alleged Olmstead violations against

children with medical complexity as a group. Doc. 789, Ex. 17, at 3-6; Doc. 1122-

12. Florida’s statutory-authority argument is meritless.
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                                CONCLUSION

    This Court should affirm.

                                            Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

Procedure 32(a)(7)(B)(i) because it contains 12,996 words, excluding the parts

exempted by Federal Rule of Appellate Procedure 32(f) and Eleventh Circuit Rule

32-4. This brief also complies with the typeface and type-style requirements of

Federal Rule of Appellate Procedure 32(a)(5) and (6) because it was prepared in

Times New Roman 14-point font using Microsoft Word for Microsoft 365.

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STATUTES:

42 U.S.C. 12131. Definitions
As used in this subchapter:
      (1) Public entity
      The term “public entity” means—
             (A) any State or local government;
             (B) any department, agency, special purpose district, or other
             instrumentality of a State or States or local government; and
             (C) the National Railroad Passenger Corporation, and any commuter
             authority (as defined in section 24102(4) of Title 49).
      (2) Qualified individual with a disability
      The term “qualified individual with a disability” means an individual with a
      disability who, with or without reasonable modifications to rules, policies, or
      practices, the removal of architectural, communication, or transportation
      barriers, or the provision of auxiliary aids and services, meets the essential
      eligibility requirements for the receipt of services or the participation in
      programs or activities provided by a public entity.


42 U.S.C. 12132. Discrimination
Subject to the provisions of this subchapter, no qualified individual with a
disability shall, by reason of such disability, be excluded from participation in or
be denied the benefits of the services, programs, or activities of a public entity, or
be subjected to discrimination by any such entity.


42 U.S.C. 12133. Enforcement
The remedies, procedures, and rights set forth in section 794a of Title 29 shall be
the remedies, procedures, and rights this subchapter provides to any person
alleging discrimination on the basis of disability in violation of section 12132 of
this title.
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REGULATION:

28 C.F.R. 35.130 General prohibitions against discrimination.
(a) No qualified individual with a disability shall, on the basis of disability, be
excluded from participation in or be denied the benefits of the services, programs,
or activities of a public entity, or be subjected to discrimination by any public
entity.
(b)(1) A public entity, in providing any aid, benefit, or service, may not, directly or
through contractual, licensing, or other arrangements, on the basis of disability—
      (i) Deny a qualified individual with a disability the opportunity to participate
      in or benefit from the aid, benefit, or service;
      (ii) Afford a qualified individual with a disability an opportunity to
      participate in or benefit from the aid, benefit, or service that is not equal to
      that afforded others;
      (iii) Provide a qualified individual with a disability with an aid, benefit, or
      service that is not as effective in affording equal opportunity to obtain the
      same result, to gain the same benefit, or to reach the same level of
      achievement as that provided to others;
      (iv) Provide different or separate aids, benefits, or services to individuals
      with disabilities or to any class of individuals with disabilities than is
      provided to others unless such action is necessary to provide qualified
      individuals with disabilities with aids, benefits, or services that are as
      effective as those provided to others;
      (v) Aid or perpetuate discrimination against a qualified individual with a
      disability by providing significant assistance to an agency, organization, or
      person that discriminates on the basis of disability in providing any aid,
      benefit, or service to beneficiaries of the public entity’s program;
      (vi) Deny a qualified individual with a disability the opportunity to
      participate as a member of planning or advisory boards;
      (vii) Otherwise limit a qualified individual with a disability in the enjoyment
      of any right, privilege, advantage, or opportunity enjoyed by others receiving
      the aid, benefit, or service.
(2) A public entity may not deny a qualified individual with a disability the
opportunity to participate in services, programs, or activities that are not separate


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or different, despite the existence of permissibly separate or different programs or
activities.
(3) A public entity may not, directly or through contractual or other arrangements,
utilize criteria or methods of administration:
      (i) That have the effect of subjecting qualified individuals with disabilities to
      discrimination on the basis of disability;
      (ii) That have the purpose or effect of defeating or substantially impairing
      accomplishment of the objectives of the public entity’s program with respect
      to individuals with disabilities; or
      (iii) That perpetuate the discrimination of another public entity if both public
      entities are subject to common administrative control or are agencies of the
      same State.
(4) A public entity may not, in determining the site or location of a facility, make
selections—
      (i) That have the effect of excluding individuals with disabilities from,
      denying them the benefits of, or otherwise subjecting them to discrimination;
      or
      (ii) That have the purpose or effect of defeating or substantially impairing
      the accomplishment of the objectives of the service, program, or activity
      with respect to individuals with disabilities.
(5) A public entity, in the selection of procurement contractors, may not use
criteria that subject qualified individuals with disabilities to discrimination on the
basis of disability.
(6) A public entity may not administer a licensing or certification program in a
manner that subjects qualified individuals with disabilities to discrimination on the
basis of disability, nor may a public entity establish requirements for the programs
or activities of licensees or certified entities that subject qualified individuals with
disabilities to discrimination on the basis of disability. The programs or activities
of entities that are licensed or certified by a public entity are not, themselves,
covered by this part.
(7)(i) A public entity shall make reasonable modifications in policies, practices, or
procedures when the modifications are necessary to avoid discrimination on the
basis of disability, unless the public entity can demonstrate that making the
modifications would fundamentally alter the nature of the service, program, or
activity.

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(ii) A public entity is not required to provide a reasonable modification to an
individual who meets the definition of “disability” solely under the “regarded as”
prong of the definition of “disability” at § 35.108(a)(1)(iii).
(8) A public entity shall not impose or apply eligibility criteria that screen out or
tend to screen out an individual with a disability or any class of individuals with
disabilities from fully and equally enjoying any service, program, or activity,
unless such criteria can be shown to be necessary for the provision of the service,
program, or activity being offered.
(c) Nothing in this part prohibits a public entity from providing benefits, services,
or advantages to individuals with disabilities, or to a particular class of individuals
with disabilities beyond those required by this part.
(d) A public entity shall administer services, programs, and activities in the most
integrated setting appropriate to the needs of qualified individuals with disabilities.
(e)(1) Nothing in this part shall be construed to require an individual with a
disability to accept an accommodation, aid, service, opportunity, or benefit
provided under the ADA or this part which such individual chooses not to accept.
(2) Nothing in the Act or this part authorizes the representative or guardian of an
individual with a disability to decline food, water, medical treatment, or medical
services for that individual.
* * * *

RULE:

Fed. R. Evid. 703. Bases of an Expert’s Opinion Testimony
An expert may base an opinion on facts or data in the case that the expert has been
made aware of or personally observed. If experts in the particular field would
reasonably rely on those kinds of facts or data in forming an opinion on the
subject, they need not be admissible for the opinion to be admitted. But if the facts
or data would otherwise be inadmissible, the proponent of the opinion may
disclose them to the jury only if their probative value in helping the jury evaluate
the opinion substantially outweighs their prejudicial effect.




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